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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 BOBBY RUTH, JR.,                                 §
                                                  §
                        Plaintiff,                §
 v.                                               §
                                                  §
                                                  §
 CAPITAL ONE BANK USA, N.A., and                  §
                                                  § Civil Action No. 1:22-CV-00996-RP
 EXPERIAN INFORMATION                             §
 SOLUTIONS, INC.                                  §
                                                  §
                                                  §
                         Defendant.               §


             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE:

         COME NOW, both Plaintiff Bobby Ruth, Jr. (“Plaintiff”), and Defendants Capital

One Bank, USA, N.A. and Experian Information Solutions, Inc. (“Defendants”), pursuant to

Rule 41 of the Federal Rules of Civil Procedure, hereby stipulate to a dismissal of this action

without prejudice.

      1. There are no longer any issues in this matter between Plaintiff and Defendants to be

         determined by this Court.

      2. Plaintiff and Defendants hereby stipulate that all claims and causes of action that were

         or could have been asserted against Defendants are hereby dismissed without

         prejudice, with court costs and attorneys’ fees to be paid by the party incurring same.

      3. Defendants agree to the dismissal.



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   4. This case is not a class action and a receiver has not been appointed.

   5. Pursuant to the terms of Rule 41(a)(1)(A)(ii), this case is dismissed without prejudice

      upon filing of this joint stipulation.

Date: December 21, 2022                    JAFFER & ASSOCIATES, PLLC

                                               Respectfully submitted,

                                               /s/ Phillip Pool
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                                               Experian Information Solutions, Inc.


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                             CERTIFICATE OF SERVICE

      I hereby certify that on December 21, 2022, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing

to all parties of record in a manner approved by the Federal Rules of Civil Procedure.


                                         /s/ Phillip Pool
                                         Phillip Pool




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